

People v John Doe (2023 NY Slip Op 03203)





People v John Doe


2023 NY Slip Op 03203


Decided on June 13, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 13, 2023

Before: Oing, J.P., Singh, Moulton, Scarpulla, Shulman, JJ. 


Ind. No. 524/21 Appeal No. 436 Case No. 2022-00362 

[*1]The People of the State of New York, Respondent,
vJohn Doe Also Known as Sequan Smith, Defendant-Appellant.


Mark Zeno, Center for Appellate Litigation, New York (David J. Klem of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Catherine Marotta of counsel), for respondent.



Judgment, Supreme Court, New York County (Michele S. Rodney, J.), rendered December 21, 2021, convicting defendant, upon his plea of guilty, of attempted burglary in the second degree, and sentencing him to a term of two years, unanimously affirmed.
Upon consideration of all of defendant's arguments in support of his request for a sentence reduction in the interest of justice (see  CPL 470.15 [6] [b]), including, among other things, his unpreserved claim that the court improperly enhanced his sentence, we perceive no basis for reducing defendant's sentence, including his two-year term of postrelease supervision. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 13, 2023








